     Case
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 1   GAMAGE & GAMAGE
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     Telephone: (702) 386-9529
 4   Attorneys for Defendant Benjamin Galecki
 5                         UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEVADA
 6
                                             **********
 7

 8   UNITED STATES OF AMERICA
                                                  CASE NO. : 2:15-cr-00285-KJD-PAL-2
 9                         Plantiff,

        vs.                                       UNOPPOSED MOTION TO EXTEND
10                                                PRE-TRIAL MOTIONS DEADLINE
11   BENJAMIN GALECKI, et al.
                                                  (FIRST REQUEST)
12                         Defendant.

13

14            COMES NOW Defendant BENJAMIN GALECKI by and through CJA counsel

15   and hereby timely files this Unopposed Motion to Extend Pre-Trial Motions Deadline
16   (First Request). This Motion is made and based upon the below justification, all
17
     papers and pleadings on file herein, along with any oral argument deemed necessary
18
     by this court:
19

20            1.   The current Joint Pretrial Order makes June 15, 2016 the deadline for

21   Defendants to file pre-trial motions.

22            2.   A close family friend and prior legal assistant to Counsel for Benjamin
23
     Galecki, passed away suddenly this weekend after her cancer spread. She was
24
     admitted to the hospital on or about Friday June 10, 2016 and passed away in the
25
     early morning hours of June 12, 2016.
26

27            3.   This event interrupted Counsel’s scheduled time to complete pre-trial

28   motions for the above titled case.

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     Case
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 1           4.    Counsel endeavored to complete the pre-trial motions but needs
 2
     additional time.
 3
             5.    Counsel contacted Government counsel who graciously agreed to a
 4
     seven (7) day extension of time.
 5

 6           6.    This will allow counsel time to complete the proposed motions, run

 7   them by Government counsel for purposes of a ‘meet and confer’, and then to file
 8
     same.
 9
             7.    This unopposed request for additional time is brought in good faith and
10
     not for purposes of delay or to prejudice any party.
11

12           Dated this 15th day of June, 2016.

13                                           GAMAGE & GAMAGE

14                                           /s/ William Gamage, Esq.
                                             ____________________________________
15                                           William H. Gamage, Esq.
                                             Nevada Bar No. 009024
16                                           1775 Village Center Circle., Suite 190
                                             Las Vegas, Nevada 89134
17                                           Telephone: (702) 386-9529
                                             Attorneys for Defendant Benjamin Galecki
18

19                                                        June
             IT IS SO ORDERED THIS _______
                                     28th day of _____________________, 2016 that
20
     the time for filing Pre-trial is extended for Defendant Benjamin Galecki rendering
21
     the following pretrial motions briefing schedule:
22

23   Pre-Trial Motions          -            June 22, 2016
     Response                   -            July 8, 2016
24
     Reply                      -            July 18, 2016
25

26
                                             __________________________________________
27                                           Magistrate
                                                UNITED /STATES
                                                         DistrictMAGISTRATE
                                                                 Court Judge JUDGE

28


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